










Opinion issued December 30, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–00562–CV




IN RE JOE GARCIA ESTRADA, JR.




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator Joe Garcia Estrada, Jr. has failed to timely file a petition conforming
to the Texas Rules of Appellate Procedure.  See Tex. R. App. P. 9.4(i) (failure to file
conforming documents).  After being notified that this original proceeding was
subject to dismissal, relator Joe Garcia Estrada, Jr. did not adequately respond.  See
Tex. R. App. P. 42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a
petition conforming to the Texas Rules of Appellate Procedure.  All pending motions
are denied.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Nuchia and Hanks.


